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                                                                                             R;r, FLORENCE SC
                                                                                      ZDl7Nov /3. AH             •
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                                          IN THE UNITED STATES DISTRICT COURT,
                                          FOR THE DISTRICT OF SOUTH CAROLINA



                                                                       Complaint for a Civil Case

                                                                       Case N p . - - - - - - - - : - - - -
                 (Write the full name ofeach plaintiffwho is filing
                                                                       (to be filled in by the Clerk's Office)
                 this complaint. If the names of all the plaintiffs
                 cannot fit in the space above, please write "see                    · ~ e s · D No
                                                                       Jury Trial:
                 attached" in the space and attach an   additional
                                                                                       (check one)
                 page with the full list of names.) ·


                     -against-

                  J/\1) Cl   ~t> V I. q l~ -l '4 I -Ph CCt~

                 (Write the full name of each defendant who is
                 being sued. If the names ofall the defendants
                 cannot fit in the space above, please write "see
                 attached" in the space and attach an additional
                 page with thefull listofnames.)
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I.    The Parties to This Complaint

      A.    The Plaintiff(s)

            Provide the information below for each plaintiff named in the complaint. Attach
            additional pages if needed.

                   Name                   SLp,·ti VurvrvtJ1--q                    /11 (, dcshJc
                   Street Address          ~    o.   -.~Jx       J-1   J')
                   City and County         1-}w,hS, r'-'     l     b a r1j ':) -h,/'\)       (    <r¾~

                   State and Zip Code      S_viv~·      C ut1) 11 i¼i    )       ~ Ys· s 1
                   Telephone Number
     B.     The Defendant(s)                                                 /




            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a'government
                                                     ,,           agency, an organization, or
            a corporation. for an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. l
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
            Defendant No. 2
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
           Defendant No. 3                                                                   t.
                                                                                                 .
                   Name



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                         Job or Title
                         (if known)
                         Street Address
                         City and County
                         State and Zip Code
                         Telephone Number
              Defendant No. 4
                         Name
                         Job or Title
                         (if known)
                         Street Address
                         City and County
                         State and Zip Code
                         Telephone Number
Il.   Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and,cases
      involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
      under the United States Constitution or federal laws or treaties is a federal question case.
                                                         ~·                               .
      Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
                   •                                        11,

      State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citize~ of the same State
      as any plaintiff.
                                                            .
      What is th~is for federal court jurisdiction? (check all that apply)

            l:i:YFederal question                                 O Diversity of citizenship

      Fill out the paragraphs in- this section that apply to this case.

      A.      If the Basis for .Jurisdiction Is a Federal Question

              List the specific federal statutes, federal treaties, and/or provisions of the United
              States Constitution that are at issue in this case.
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                  3.       The Amount in Controversy

                           The amount in controversy--the amount the plaintiff claims the defendant
                           owes or the amount at stake-is more than $75,000, not counting interest
                           and costs of court, because (e:Xplain):

                                  ~      Jo 1 o ov

III.     Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as ·
         briefly as possilble the facts showing that eac~ plaintiff is entitled to the damages or other
         relief sought. State how each defendant was involved and what each defendant did that
         caused the plaintiff harm or violated the plairitiffs rights, including the dates and places
                                                        .~1-
         0 f that involvement or conduct. If morethan,one claim is asserted, p.umber each claim

         and write a short and plain statement of each claim in a separate paragraph. Attach
         additional pages if needed.

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IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to
         order. Do not make legal arguments. IncludJ' any basis for claiming that the wrongs
         alleged are continuing at the present time. Include the amounts of any actual damages
         claimed for the acts alleged and the basis for these amounts. Include any punitive ~r
         exemplary damages claimed, the amounts,                    and
                                                          the reasons you claim you are entitled to
         actual or punitive money damages.
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     V.      Certification and! Closing

             Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy
             knowledge, information, and belief that this complaint: (1) is not being presented for an
             improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
             cost of litigation; (2) is supported by existing•law or by a nonfrivolous argument for
             extending, modifying, or reversing existing law; (3) the factual contentions have
                                                           I

             evidentiary support or, if specifically so identified, will likely have evidentiary sµpport
             after a reasonable opportunity for further investigation or discovery; and (4) the
             complaint otherwise complies with the requirements of Rule 11.

             A.     For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-
                    related papers may be served. I understand that my failure to keep a current
                    address on file with the Clerk's Office may result in the dismissal of my case.

                    Date of signing:   Y\cJ"I     ,20_!]

                    Signature of Plaintiff
                    Printed Name of Plaintiff
                                                  ~

             B.     For Attomeys

                    Date of signing: _____, 20_.

                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Address
                    Telephone Number
                    E-mail Address




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